Case 21-40834-drd11          Doc 21    Filed 07/02/21 Entered 07/02/21 14:32:43           Desc Main
                                      Document      Page 1 of 8



                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF MISSOURI


  In re:                                           )
                                                   )
  INTERSTATE UNDERGROUND                           ) Case No. 21-40834-DRD
  WAREHOUSE AND INDUSTRIAL                         )
  PARK, INC.,                                      ) Chapter 11
                                                   )
                           Debtor.                 )
                                                   )



                DEBTOR’S MOTION FOR ENTRY OF AN ORDER
            (A) SCHEDULING EXPEDITED HEARINGS ON CERTAIN
     FIRST DAY MOTIONS AND APPLICATIONS, (B) APPROVING THE FORM
   AND MANNER OF NOTICE THEREOF, AND (C) GRANTING RELATED RELIEF

                   Interstate Underground Warehouse and Industrial Park, Inc. as debtor and debtor in

 possession in the above-captioned case (collectively, the “Debtor”) respectfully states as follows

 in support of this motion (this “Motion”):

                                           Relief Requested

                   1.     By this Motion, the Debtor seeks entry of an order (the “Proposed Order”),

 pursuant to section 105 of title 11 of the United States Code (the “Bankruptcy Code”), rule 9006(c)

 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 1002-2(A) and

 1002-2(C) of the Local Rules of the Bankruptcy Court for the Western District of Missouri (the

 “Local Bankruptcy Rules”), (a) scheduling expedited hearings at the Court’s earliest convenience

 for consideration of the Debtor’s First Day Motions (as defined below) described on the proposed

 first day agenda, attached hereto as Exhibit A (the “Proposed First Day Agenda”), and (b) granting

 related relief.
Case 21-40834-drd11            Doc 21      Filed 07/02/21 Entered 07/02/21 14:32:43                      Desc Main
                                          Document      Page 2 of 8



                                            Jurisdiction and Venue

                  2.       This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§

 157 and 1334 and rule 1073-1(A) of the Local Rules of the United States District Court for the

 Western District of Missouri. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This

 matter is a core proceeding pursuant to 28 U.S.C. §157(b).

                  3.       The statutory and legal predicates for the relief requested herein are section

 105 of the Bankruptcy Code, Bankruptcy Rule 9006(c), and Local Bankruptcy Rules 1073-1(A)

 (C).

                                                   Background

                  4.       On July 1, 2021 (the “Petition Date”), the Debtor filed a voluntary petition

 for relief under chapter 11 of the Bankruptcy Code. The Debtor operates a network of underground

 storage facilities within a single location in Kansas City, Missouri. IUW houses approximately 3

 million square feet of dry storage, 250,000 square feet of cooler space, and 500,000 square feet of

 freezer space for the storage of a variety of customer goods.

                  5.       The Debtor is operating its business and managing its properties as a debtor

 in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.                    No trustee, examiner or

 official committee has been appointed in this chapter 11 case.

                  6.       A comprehensive description of the Debtor’s operations and events leading

 to the commencement of this Chapter 11 case is set forth in the Declaration of Leslie Rene Reeder,

 the (“First Day Declaration”),1 each filed contemporaneously herewith and incorporated herein by

 reference.



 1
     The First Day Declaration is being filed in support of this Motion and are incorporated herein by reference.
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the First Day
     Declaration.



                                                          2
Case 21-40834-drd11        Doc 21      Filed 07/02/21 Entered 07/02/21 14:32:43            Desc Main
                                      Document      Page 3 of 8



                                      Basis for Relief Requested

                7.      On the Petition Date, the Debtor filed certain motions requesting first day

 relief (the “First Day Motions”) to be heard by this Court on an expedited basis. Prompt entry of

 orders granting the relief requested in the First Day Motions is critical to maintaining the Debtor’s

 ongoing operations.

                8.      Local Bankruptcy Rule 1002-2(A) provides that an expedited hearing may

 be granted upon a movant’s “written motion, setting forth the reason the matter should be heard

 on an expedited or emergency” basis. Local Rule 1002-2(C) also recognizes the need for an

 expedited hearing on the first day matters, instructing that such motions are typically heard within

 48 hours of a filing. Here, an expedited hearing on the First Day Motions is appropriate and is

 consistent with past practice in virtually every significant chapter 11 case to ensure a debtor’s

 smooth transition into chapter 11.

                9.      Furthermore, section 105(a) of the Bankruptcy Code authorizes the

 requested relief. Section 105(a) of the Bankruptcy Code allows the Court to “issue any order,

 process, or judgment that is necessary or appropriate to carry out the provisions of [the Bankruptcy

 Code.]” 11 U.S.C. § 105(a). It permits a bankruptcy court to take whatever action “is appropriate

 or necessary in aid of the exercise of its jurisdiction.” 2 COLLIER ON BANKRUPTCY ¶ 105.01.

                10.     The Debtor submits that the circumstances of this chapter 11 case warrant

 granting similar relief, and that doing so is in the best interests of the Debtor, its estates, its

 creditors, and its stakeholders, and therefore should be granted.



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Case 21-40834-drd11        Doc 21     Filed 07/02/21 Entered 07/02/21 14:32:43       Desc Main
                                     Document      Page 4 of 8



                WHEREFORE, the Debtor respectfully requests entry of the Proposed Order,

 granting the relief requested herein and such other relief as is just and proper.

  Dated:   July 2, 2021               Respectfully submitted,
           Kansas City, Missouri      ARMSTRONG TEASDALE LLP

                                       /s/ Pamela Putnam
                                      Pamela Putnam, MO 61158
                                      2345 Grand Blvd. Suite 1500
                                      Kansas City, MO 64108
                                      Telephone: (816) 221-3420
                                      Facsimile: (816) 221-0786
                                      Email: pputnam@atllp.com

                                      - and -

                                      Richard W. Engel, Jr., MO 34641
                                      Erin M. Edelman, MO 67374 (admitted pro hac vice)
                                      ARMSTRONG TEASDALE LLP
                                      7700 Forsyth Boulevard, Suite 1800
                                      St. Louis, Missouri 63105
                                      Telephone: (314) 621-5070
                                      Facsimile: (314) 612-2239
                                      Email: rengel@atllp.com
                                      Email: eedelman@atllp.com

                                      Proposed Counsel to the Debtor




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Case 21-40834-drd11   Doc 21    Filed 07/02/21 Entered 07/02/21 14:32:43   Desc Main
                               Document      Page 5 of 8



                                       Exhibit A

                               Proposed First Day Agenda
Case 21-40834-drd11      Doc 21    Filed 07/02/21 Entered 07/02/21 14:32:43          Desc Main
                                  Document      Page 6 of 8



                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF MISSOURI


  In re:                                       )
                                               )
  INTERSTATE UNDERGROUND                       ) Case No. 21-40834-DRD
  WAREHOUSE AND INDUSTRIAL                     )
  PARK, INC.,                                  ) Chapter 11
                                               )
                        Debtor.                )
                                               )
                                               )
                                               )
                                               )
                                               )



  PROPOSED AGENDA FOR HEARING ON JULY 6, 2021 AT 1:30 P.M. (PREVAILING
                         CENTRAL TIME

 In support of the following relief requested at the First Day Hearing, the Debtor relies on the
 Declaration of Leslie Reeder in Support of Chapter 11 Petition and First Day Relief [ECF Nos. 1
 and 19].

    A.     Administrative Motions

           1. Motion to Expedite – Debtor’s Motion for Entry of an Order (A) Scheduling
              Expedited Hearings on Certain First Day Motions and Applications, (B) Approving
              the Form and Manner of Notice Thereof, and (C) Granting Related Relief [ECF
              No. 21]

                              Status: This matter is going forward.


    B.     Professional Retention Application

           2. Armstrong Teasdale LLP Retention Application. Debtor’s Application for Entry
              of an Order Authorizing the Retention and Employment of Armstrong Teasdale
              LLP as Attorneys for the Debtor and Debtor in Possession Nunc Pro Tunc to the
              Petition Date [ECF No. 12]
Case 21-40834-drd11   Doc 21    Filed 07/02/21 Entered 07/02/21 14:32:43          Desc Main
                               Document      Page 7 of 8



                           Status: This matter is going forward.

    C.   Operational Motions


         3. Utilities Motion. Debtor’s Motion for Entry of Interim and Final Orders
            Determining Adequate Assurance of Payment for Future Utility Services [ECF
            No. 14]

                           Status: This matter is going forward.

         4. Cash Management Motion. Debtor’s Motion for Entry of Interim and Final Orders
            (A) Authorizing the Continued Use of the Debtor’s Existing Cash Management
            System; (B Authorizing Use of Existing Bank Accounts and Business Forms; (and
            (C) Granting Related Relief [ECF No. 15]

                           Status: This matter is going forward.


         5. Wages and Benefits Motion. Debtor’s Motion for Entry of Interim and Final Orders
            (A) Authorizing Debtor to Pay Prepetition Wages and Workforce Obligations,
            (B) Authorizing Debtor to Maintain Workforce Programs and Pay Related
            Obligations, and (C) Granting Related Relief [ECF No. 17]

                           Status: This matter is going forward.

         6. Insurance Motion. Debtor’s Motion for Entry of Interim and Final Orders
            (A) Authorizing the Debtor to (I Maintain, Continue, and Renew Their Existing
            Insurance Program and (II) Honor Certain Prepetition Obligations in Respect
            Thereof and (B) Granting Related Relief [ECF No. 18]

                           Status: This matter is going forward.

    D.   Financing Motions

         7. Cash Collateral & DIP Financing Motion. Debtor’s Motion for Interim and Final
            Orders Authorizing the Debtor to Utilize Cash Collateral [ECF No. 16]

                           Status: This matter is going forward.




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Case 21-40834-drd11      Doc 21     Filed 07/02/21 Entered 07/02/21 14:32:43       Desc Main
                                   Document      Page 8 of 8



  Dated:   July 2, 2021             Respectfully submitted,
           Kansas City, Missouri    ARMSTRONG TEASDALE LLP

                                     /s/ Pamela Putnam
                                    Pamela Putnam, MO 61158
                                    2345 Grand Blvd. Suite 1500
                                    Kansas City, MO 64108
                                    Telephone: (816) 221-3420
                                    Facsimile: (816) 221-0786
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                                    Proposed Counsel to the Debtor




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